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                   Exhibit 19G
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            BP’s Memorandum in Support of Motion for Final Approval
                                       August 13, 2012
                                         Doc. 7114-1


Page         Text
2            BP also voluntarily assumed the payment of all compensatory damages for class
             members, despite the significant -- indeed substantial -- causal role of other
             defendants in the incident. …this settlement’s excruciatingly detailed
             negotiations…
5            Settlement Negotiations: …more than 145 days of face-to-face meetings as well
             as numerous phone calls and WebEX conferences.
6            Without regard to total payout figures the parties negotiated claims frameworks,
             programs, and processes including details such as: (1) what categories of claims
             would be paid; (2) What types of proof would be required for claimants to receive
             the Settlement payment; (3) Whether certain claimants should be permitted to
             benefit from causation presumptions, that BP was willing to accept for settlement
             purposes; and (4) How Settlement benefits would be calculated. The
             negotiations were thus exclusively focused, from the outset, on producing claim
             frameworks that could be administrated fairly, objectively, and consistently.
             During this process, PSC and other counsel most familiar with each type of claim
             advised the negotiators to ensure that the frameworks reflected and were
             reasonably designed to address the actual situations faced by the claimants
             falling within each category.
11           [Discussing the Class Definition:] Also simplifying this case is the fact that the
             class definition carefully excludes remote claimants…This deliberately narrow
             definition of the class…ensures that this class action will remain compact and that
             class members will be similarly situated (and hence more cohesive).
11           [Miller Declaration Ex. 15, paragraph 13:] Among the most important structural
             features in this settlement is the class definition, which clearly and objectively
             defines the class in terms of time period, geographic region, and type of claim
11           Third, the class definition takes pains to specify a list of exclusions, for two
             reasons: (1) To exclude claims that BP does not believe are even colorably
             compensable under OPA or maritime law; and (2) To avoid the inclusion of claims
             that could not be efficiently resolved by a definable and administrable claims
             framework.
12           Like any settlement, the settlement that has been reached to resolve this
             litigation is “a compromise, a yielding of the highest hopes in exchange for
             certainty and resolution.”

             The Settlement stands alone, however, in its substantive generosity to the Class
             Members in its procedural fairness.
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19           [Richardson Declaration Ex. 6, paragraph 60:] Concluding that the Settlement is
             “sufficiently simple so that an unreasonable burden is not levied against
             claimants in filing their claims.”
24           The formulas were negotiated at length by “the Party’s counsel, assisted and
             informed by experts and colleagues with specialized knowledge of various
             aspects of the litigation and the array of claims categories.” These experts, who
             included economists, accountants, and real estate experts, among others,
             analyzed and responded to questions posed by both BP and the PSC throughout
             the negotiation process.
25           This method of compensation is designed to assess loss that individuals suffered
             as a result of the Spill.
26           Discusses Causation Presumption as rational and supported by economic logic.
29           The Business Economic Damage claimants will be compensated under the
             settlement for post-spill losses of earnings and profits as with the individual
             framework. The goal of the business framework is to fairly compensate
             businesses for their losses suffered as a result of the Spill; It “uses the well-
             recognized approach of measuring lost, earnings or profits by comparison of the
             post-DWH Spill Compensation Period to a Benchmark Period…The Framework
             methodologies generally used pre-Spill benchmark period earnings or revenue
             data to project expected earnings or revenue in the post-Spill May-December
             2010 period, taking into account any reasonably anticipated growth in revenue.”
30           The compensation calculation in the Settlement Agreement for Business
             Economic Loss Claims is divided into two steps: Step 1 provides compensation for
             the reduction in variable profit between the Compensation Period and the
             Benchmark Period. Step 2 provides compensation for increased profits expected
             to be generated in 2010 but for the Spill.
33           ….in many ways the causation principles are remarkably favorable to claimants.
             See, e.g., Sharp Decl. (Ex. 18) ¶ 17 (“[O]nce a business meets the causation
             requirements, for purposes of quantifying compensation, all revenue and variable
             profit declines during the claimant-selected compensation period are presumed
             to be caused by the spill, with no analysis required to determine whether the
             declines might have been due, at least in part, to other causes.”).
